            Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 1 of 24




                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                            :   Civil Action No.:
PUTNAM INVESTMENT MANAGEMENT, LLC,                          :
                                                            :
                                      Plaintiff,            :
                v.                                          :   COMPLAINT
                                                            :
                                                            :
ACE AMERICAN INSURANCE COMPANY,                             :   JURY TRIAL DEMANDED
                                                            :
                                      Defendant.            :
                                                            :
                                                            :


        Plaintiff Putnam Investment Management, LLC (“Putnam”), by and through its

undersigned counsel, files this Complaint against ACE American Insurance Company (“ACE”) ,

a unit of Chubb Ltd., and alleges as follows:

                                PRELIMINARY STATEMENT

       1.      This is an action for declaratory relief and damages for breach of contract and

willful violation of Massachusetts General Laws, Chapter 93A arising out of ACE’s repudiation

and material breach of its obligations under the ACE Advantage Professional Liability and

Corporate Management Protection Policy No. DON G21644365 015 (the “Policy”) that ACE sold

Putnam. The Policy provides $10 million in coverage above a $2.5 million self-insured retention

(the “Retention”).

       2.      ACE violated its obligations under the Policy by refusing to deduct covered

Defense Costs from the Retention, thereby impermissibly delaying its obligation to indemnify

Putnam for those costs.

       3.      Putnam has incurred over $4.5 million in Defense Costs in responding to an SEC

investigation (the “SEC Action”). ACE has acknowledged that the SEC Action is a covered
             Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 2 of 24



Claim, and ACE is therefore bound by the Policy to reimburse Putnam for the Defense Costs

related to the SEC Action that exceed the $2.5 million Retention. Under the Policy, ACE’s

obligation to reimburse Putnam begins once the Retention is satisfied. The Policy contains a

requirement that ACE reimburse Defense Costs as part of its indemnity obligation, but assigns the

right and duty to defend a Claim exclusively to Putnam. Therefore, the Policy in no way entitles

ACE to control the defense of Claims against its insured.

       4.       In order to delay the satisfaction of the Retention – and therefore its obligation to

reimburse Putnam – ACE has insisted that a significant portion of the SEC Action Defense Costs

are excluded from coverage, and therefore do not count towards the Retention. In an attempt to

double its chances of limiting its liability to Putnam for all reasonable and necessary Defense

Costs, ACE has improperly relied on two independent Policy provisions.

       5.       First, ACE has failed and refused to provide Putnam timely coverage by asserting

that any Defense Costs incurred by Putnam before notice of the SEC Action was provided (the

“Pre-Notice Defense Costs”) are not covered by the Policy, do not deplete the Retention, and are

solely Putnam’s responsibility. ACE bases its refusal to pay on the Policy’s “Notice Provision,”

but that provision specifically states “if an Insured fails to provide notice as provided in this

section IX(A), the Insurer shall not be able to limit, restrict or otherwise avoid coverage unless the

Insurer can establish that such failure to comply … actually and materially prejudiced the

Insurer’s rights.” ACE has not identified a single way that it was prejudiced, yet has refused to

count nearly $1.3 million in paid and incurred Defense Costs towards the depletion of the

retention.

       6.       Second, ACE has wrongfully denied coverage for the Pre-Notice Defense Costs

based on the Policy’s provision requiring ACE to provide “prior written consent before defense



                                                   2
            Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 3 of 24



costs are incurred, which consent shall not be reasonably withheld.” On its face, this provision

does not apply to amounts incurred before the Policy is triggered by the satisfaction of the $2.5

million retention. Nonetheless, as ACE was not actually and materially prejudiced by the timing

of Putnam’s notice, the Pre-Notice Defense Costs are covered by the Policy regardless of terms of

this provision. Moreover, ACE has never identified a single Pre-Notice Defense Cost it deems to

have been unnecessary, excessive, or to embody any quality that would justify ACE’s reasonable

refusal to consent to those costs. Instead, ACE issued a blanket denial of coverage for all Pre-

Notice Defense Costs without any investigation into their reasonableness.

       7.      Under the terms of the Policy, ACE may only disclaim liability for otherwise

covered Defense Costs if such costs are: (a) unreasonable; or (b) incurred without prior notice to

ACE and ACE was actually and materially prejudiced by receiving “late” notice. ACE was not

prejudiced by delayed notice, nor has ACE identified a single Pre-Notice Defense Cost as

unreasonable, such that ACE could justifiably withhold consent. Therefore, by relying on the

Notice Provision and/or the Consent Provision as a basis to disclaim coverage for the Pre-Notice

Defense Costs, and by excluding such costs from the Retention, ACE has materially breached its

obligations under the Policy. ACE’s actions constitute “unfair claims settlement practices” and

clear violations of Massachusetts General Laws, Chapter 176D § 3(9), and thereby constitute

violations of Massachusetts General Laws, Chapter 93A.

       8.      ACE has further breached its obligations be seeking to commandeer control of the

defense of the SEC Action. ACE has ostensibly required Putnam—to whom the Policy assigns

the sole right and responsibility to defend a Claim—to abide by ACE’s Litigation Management

Guidelines (the “Guidelines”) by improperly using the Guidelines as a proxy for a reasonableness

determination, and denying coverage (i.e. refusing to provide consent) for any line item that ACE



                                                  3
            Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 4 of 24



believes does not conform to its Guidelines and the restrictions therein. The Guidelines are not

part of the Policy, and were never provided to Putnam at the time of contracting. The Guidelines

are inconsistent with the Policy’s mandate that Putnam control its own defense, and operate to

materially and significantly reduce the coverage that Putnam believed it had purchased. The

Guidelines therefore conflict with the Policy and represent a unilaterally imposed, after-the-fact

limitation on what Defense Costs ACE will cover.

       9.      ACE’s attempt to limit its liability by belatedly imposing Guidelines that were not

part of the Policy – and to which Putnam did not consent – constitutes a material breach of its

obligations under the Policy and violations of M.G.L. c. 176D and M.G.L. c. 93A.

       10.     In November 2018, with the SEC Action claim pending, Chubb presented

Putnam with a renewal policy (the “Renewal Policy”) that included a marked increase in

both the required premium and the self-insured Retention. Prior to the Renewal Policy

negotiations, Chubb had issued a coverage letter identifying the Pre-Notice Defense Costs as

one of the “Potential Coverage Issues” in the SEC Action (emphasis added). During the

Renewal Policy negotiations, ACE failed to adequately disclose that it intended to

unequivocally deny coverage for the Pre-Notice Defense Costs.

       11.     Putnam relied to its detriment on the express Policy language requiring ACE to

provide coverage for the SEC Action during the Renewal Policy negotiations, and ultimately

renewed its coverage with ACE. If ACE had adequately revealed to Putnam that it had no

intention of honoring its Policy obligations by providing coverage for the SEC Action

Defense Costs, Putnam would not have purchased the Renewal Policy or would have done so

on different terms.




                                                  4
             Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 5 of 24



       12.      As a result of ACE’s refusal to honor its Policy obligations, bad faith attempts

to limit its own liability, and misrepresentations intended to induce Putnam to purchase the

Renewal Policy, Putnam now seeks a declaration as to the existence, scope and breach of

ACE’s obligation to pay Putnam’s Defense Costs arising out of the covered SEC Action, and

damages for ACE’s breach of contract and for all available relief resulting from ACE’s

violations of M.G.L. c.176D and M.G.L. c. 93A.

                                           THE PARTIES

       13.      Plaintiff Putnam Investment Management, LLC, a Delaware limited liability

company, is the wholly-owned subsidiary of Putnam U.S. Holdings I, LLC, which in turn is the

wholly-owned subsidiary of Putnam Acquisition Financing LLC. Putnam Acquisition Financing

LLC is the wholly-owned subsidiary of Putnam Acquisition Financing Inc., a Colorado

corporation with its principal place of business in Massachusetts. Putnam is therefore a citizen of

both Colorado and Massachusetts.

       14.      Upon information and belief, Defendant ACE American Insurance Company is

incorporated in Pennsylvania with its principal place of business in Pennsylvania. Upon

information and belief, at all material times ACE has conducted substantial business within the

State of Massachusetts, including engaging in the business of selling insurance, investigating

claims, and/or issuing policies that cover policyholders or activities located in Massachusetts.

                                  JURISDICTION AND VENUE

       15.      This Court has jurisdiction over the subject matter of this action pursuant to 28

U.S.C. § 1332 because there is complete diversity of citizenship between the parties to this action

and because the amount in controversy exceeds $75,000, exclusive of interest and costs.

       16.      Venue in this Court is proper pursuant to 28 U.S.C. § 1391.



                                                   5
                Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 6 of 24



                                     FACTUAL ALLEGATIONS

I.        PUTNAM’S PROFESSIONAL LIABILITY AND CORPORATE MANAGEMENT
          PROTECTION INSURANCE COVERAGE

          17.      In consideration of the payment of substantial premiums, ACE issued the ACE

Advantage Professional Liability and Corporate Management Protection Policy No. DON

G21644365 015 (the “Policy”) to Putnam Investments, LLC for the policy period December

1, 2016 to December 1, 2017 (the “Policy Period”). The Policy includes Investment Advisor

Liability Coverage (the “IA Coverage”). The Policy has a limit of liability of $10,000,000

above a $2,500,000 retention (the “Retention”) per Claim, as defined in the Policy.

          18.      As a subsidiary of Putnam Investments, LLC, Putnam is an Insured under the

Policy and is entitled to coverage as an Insured Advisor for all Loss that Putnam becomes

legally obligated to pay by reason of a Claim first made against Putnam during the Policy

Period.

          19.      The Policy’s IA Coverage provides that:

          The Insurer shall pay on behalf of the Insured Adviser all Loss for which the
          Insured Adviser becomes legally obligated to pay by reason of a Claim first made
          against the Insured Adviser during the Policy Period . . . and reported to the
          Insurer pursuant to the terms of this Policy, for any Wrongful Acts by the Insured
          Adviser . . . in rendering or failing to render Professional Services, if such
          Wrongful Acts take place prior to the end of the Policy Period.

See Policy § I(B).

          20.      Putnam is an Insured Advisor under the terms of the Policy.

          21.      “Loss” is defined to include “Defense Costs which the Insured becomes legally

obligated to pay on account of any Claim first made against any Insured during the Policy Period .

. . for Wrongful Acts to which this Policy applies.” See Policy at § II(CC).




                                                    6
              Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 7 of 24



        22.      “Defense Costs” are “reasonable and necessary costs, charges, fees and expenses

incurred by any Insured in investigating, adjusting, defending or appealing Claims . . . .” See

Policy at § II(L).

        23.      “Claim” is defined in the Policy as:

                  1.      a written demand for monetary or non-monetary, injunctive
                          or other relief;
                                                  ***
                  3.      a civil, criminal, administrative or regulatory investigation
                          commenced by the service upon or other receipt by any
                          Insured of a written notice or subpoena, formal
                          investigative order, Wells Notice, civil investigative
                          demand, or target letter within the meaning of Title 9,
                          Section 11.151 of the United States Attorneys’ Manual . . . .

 See Policy at § II(E).

        24.      “Wrongful Act” is defined in the Policy, in relevant part, to mean “any error,

misstatement, misleading statement, act, omission, neglect, or breach of duty . . . actually or

allegedly committed or attempted by . . . the Insured Adviser.” See Policy § II(TT).

        25.      “Professional Services” is defined to include:

                  giving financial, economic or investment advice, including
                  performing investment management services, regarding
                  investments, if such advice or services are provided by or on behalf
                  of the Insured Adviser . . . (i) in return for a fee, commission or
                  other compensation (“Compensation”), or for which Compensation
                  . . . has been waived by the Insured Adviser; or, (ii) without
                  Compensation as long as such non-compensated services are
                  rendered in conjunction with services rendered for Compensation

 See Policy at § II(MM).

        26.       The Policy requires the insurer’s consent “to . . . incur any Defense Costs or

otherwise assume any contractual obligation or admit any liability with respect to any Claim”

such that ACE “shall not be liable for any settlement, Defense Costs, assumed obligation or

admission to which it has not consented.” See Policy at § X(B) (the “Consent Provision”). The


                                                    7
              Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 8 of 24



Consent Provision prohibits ACE from “unreasonably” withholding consent. The Consent

Provision does not apply to Defense Costs not exceeding Putnam’s retention. See id.

        27.      Under the Policy, Putnam is required to provide ACE with “written notice of any

Claim made against the Insureds as soon as practicable after the general counsel or treasurer of

the Named Insured, or in the case of an Insured Mutual Fund, the Chairman, first learn(s) of the

Claim . . . .” See Policy at § IX(A) (“Notice Provision”). The Notice Provision contains an

exception, which provides “that if an Insured fails to provide notice as provided in this Section

IX(A), the Insurer shall not be able to limit, restrict or otherwise avoid coverage unless the Insurer

can establish that such failure to comply with this Section IX(A) actually and materially

prejudiced the Insurer’s rights.” See Policy at § IX(A).

        28.      Should a Claim arise under the Policy, the Policy provides that “[i]t shall be the

duty of the Insureds and not the duty of the Insurer to defend any Claim.” See Policy at § X(A).

II.     THE SEC ORDER AND PUTNAM’S SUBSEQUENT CLAIM FOR COVERAGE

        29.      On March 1, 2017, the U.S. Securities and Exchange Commission issued to

Putnam an Order Directing Private Investigation (the “SEC Order”), alleging suspected violations

of the “Section 17(a) of the Securities Act, Section 10(b) of the Exchange Act and Rule 10b-5

thereunder, Sections 203, 206(1), 206(2), 206(3) and 206(4) of the Advisers Act and Rules

206(4)-7 and 206(4)-8 thereunder, and Sections 17(a)(1) and 17(a)(2) of the Investment Company

Act.”

        30.      After receiving the SEC Order, Putnam directed its counsel, Skadden, Arps, Slate,

Meagher & Flom, to defend Putnam’s interests for the duration of the SEC’s investigation (the

“SEC Action”).

        31.      On August 24, 2017, Putnam’s insurance broker, Marsh USA, Inc., sent written

notice to ACE of Putnam’s receipt of the SEC Order and the subsequent SEC Action. While
                                                    8
                Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 9 of 24



awaiting ACE’s response, Putnam continued to defend against the SEC Action – as was Putnam’s

right under the Policy – and operated under the presumption that ACE would fully reimburse all

Defense Costs above the Retention – as was ACE’s obligation under the Policy.

          32.      On September 27, 2017, ACE issued its coverage position (the “Coverage Letter”).

In the Coverage Letter, ACE acknowledged that Putnam is entitled to coverage under the Policy

for the SEC Action and consented to Putnam’s retention of Skadden as counsel, but nonetheless

disclaimed coverage for the approximately $1,300,000 in Defense Costs incurred prior to August

24, 2017 (the “Pre-Notice Defense Costs”). Referencing Putnam’s delayed notice, ACE insisted

that under the terms of the Policy, “ACE is not liable for any Defense Costs to which it has not

consented,” and identified the SEC Action Pre-Notice Defense Costs as one of several “Potential

Coverage Issues.” ACE subsequently refused to either reimburse Putnam’s Pre-Notice Defense

Costs or to count those costs towards the Retention.

          33.      Putnam has incurred over $4.5 million in Defense Costs arising out of the SEC

Action.

          34.      Putnam has incurred approximately $2 million in excess of the Retention that,

under the Policy, ACE is obligated to reimburse.

          35.      Relying on the Notice Provision and/or the Consent Provision, ACE has refused to

count approximately $1.3 million of the Defense Costs towards the retention.

          36.      Relying on the unilaterally imposed Litigation Management Guidelines, ACE has

thus far refused to recognize or provide coverage for approximately $200,000 in Defense Costs.




                                                    9
             Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 10 of 24



         A.      ACE Improperly Relied on the Notice Provision to
                 Deny Coverage for the Pre-Notice Defense Costs__

        37.     Under the terms of the Policy, all reasonable and necessary Defense Costs incurred

in the defense of a covered Claim must be counted toward the Retention, until the Retention is

satisfied.

        38.     ACE may not disclaim coverage for any failure by Putnam to comply with the

Notice Provision “unless [ACE] can establish that such failure to comply with [the Notice

Provision] actually and materially prejudiced [ACE]’s rights.”

        39.     ACE has never asserted that it was actually and materially prejudiced by Putnam’s

incurring of the Pre-Notice Defense Costs, and in fact cannot establish such prejudice.

        40.     The entirety of the Pre-Notice Defense Costs fell within the Retention, and would

have been Putnam’s responsibility regardless of when ACE was provided with notice. By the

explicit terms of the Policy, ACE’s consent is not required for Defense Costs unless or until the

Retention is satisfied.

        41.     The Policy explicitly states that it is “the duty of the Insureds and not the duty of

the Insurer to defend any Claim.” ACE drafted the Policy such that the right to conduct the

defense of a Claim rests solely with Putnam, and such that ACE’s rights and duties with respect to

the defense are limited to reimbursement of reasonable and necessary Defense Costs. The Policy

in no way entitles ACE to exert any control over the defense beyond ACE’s right to reasonably

refuse to consent to incurred Defense Costs.

        42.     Pursuant to the Policy that ACE drafted, Putnam – not ACE – has the right to

select counsel and to make all strategic and tactical decisions regarding the defense of the Claim.

ACE therefore cannot establish prejudice on these grounds.




                                                   10
          Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 11 of 24



       43.     ACE cannot establish, and has not claimed to have suffered, any actual or material

prejudice as a result of receiving notice of the SEC action in August of 2017. ACE’s reliance on

the Notice Provision to deny coverage for the Pre-Notice Defense Costs is a material breach of its

obligations under the Policy and constitutes violations of M.G.L. c. 176D and M.G.L. c. 93A.

        B.      ACE Improperly Relied on the Consent Provision to
                Deny Coverage for the Pre-Notice Defense Costs___

       44.     Pursuant to the Consent Provision in the Policy, coverage for Defense Costs within

the Retention is not subject to ACE’s consent. After the Retention is satisfied, ACE may only

withhold consent where doing so is not unreasonable.

       45.     ACE has incorrectly required consent with respect to Defense Costs within the

Retention. Further, ACE has never asserted that any of the Pre-Notice Defense Costs are

unnecessary, excessive, or embody any quality that would justify ACE’s reasonable refusal to

consent to those costs.

       46.     ACE’s blanket denial of coverage for the Pre-Notice Defense Costs without any

attempt to determine the reasonableness of those costs, is an improper application of the Consent

Provision, a breach of ACE’s obligations under the Policy, and constitutes violations of M.G.L. c.

176D and M.G.L. c. 93A.

       47.     Under the terms of the Policy, ACE may not unreasonably withhold consent with

respect to coverage of the Pre-Notice Defense Costs. All reasonable and necessary Defense Costs

incurred in the defense of a covered Claim must be counted toward the Retention, until the

Retention is satisfied.




                                                11
           Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 12 of 24



         C.     ACE Improperly Imposed and Relied on the
                Litigation Management Guidelines to Deny Coverage

         48.   In the Coverage Letter, ACE stated that its consent to Skadden as Putnam’s

counsel was “subject to the firm’s compliance with [ACE’s] Litigation Management Guidelines”

(the “Guidelines).

         49.   The Policy explicitly states that it is “the duty of the Insureds and not the duty of

the Insurer to defend any Claim.” By assigning the duty to defend to Putnam, ACE limited its

obligation only to the reimbursement of Defense Costs. Putnam had and exercised its right to

select counsel and to make all strategic and tactical decisions regarding the defense of the SEC

Claim.

         50.   ACE did not assign itself the right to select counsel, and Putnam’s retention of

Skadden is permissible irrespective of ACE’s consent. ACE conditioning its consent of

Skadden’s retention upon compliance with the Guidelines is inconsistent with the terms of the

Policy and a material breach of contract.

         51.   The Policy provides coverage for reasonable and necessary Defense Costs and

allows ACE to withhold consent only where such withholding would not be unreasonable.

         52.   The Guidelines impose additional restrictions on Putnam’s incurring of Defense

Costs beyond the limitations included in the Policy.

         53.   The Guidelines were never part of the Policy.

         54.   Putnam was not provided with a copy of the Guidelines at the time of contracting.

         55.   Putnam has not agreed to abide by the Guidelines or to accept the Guidelines as a

proxy for determining whether any specific incurred Defense Cost is reasonable.

         56.   Putnam is not bound by the Guidelines.




                                                  12
          Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 13 of 24



       57.     ACE’s attempt to use the Guidelines to limit coverage otherwise available to

Putnam under the terms of the Policy is a breach of ACE’s Policy obligations and constitutes

violations of M.G.L. c. 176D and M.G.L. c. 93A.

III.    PUTNAM’S PURCHASE OF THE RENEWAL POLICY

       58.     While the SEC Action claim was pending, the policy period for the 2018 ACE

policy was coming to a close and ACE presented Putnam with the Renewal Policy.

       59.     The Renewal Policy contained a significant increase in the price of the premium,

as well as a much higher self-insured retention. Compared to the previous policies, including the

Policy, the Renewal Policy essentially offered less coverage for a higher price.

       60.     Prior to the Renewal Policy negotiations, Chubb, in its Coverage Letter, identified

the Pre-Notice Defense Costs as one of the “Potential Coverage Issues” in the SEC Action

(emphasis added). During the Renewal Policy negotiations, ACE failed to adequately disclose

that it intended to unequivocally deny coverage for the Pre-Notice Defense Costs.

       61.     Upon information and belief, ACE’s presentation of the Renewal Policy was

intended to lead Putnam to believe that if Putnam purchased this policy with less favorable terms,

ACE would drop its “Potential Coverage Issues” and properly reimburse Putnam for the SEC

Action Defense Costs. Putnam relied on ACE’s representation and the express Policy language to

its detriment, and was induced by ACE to purchase the Renewal Policy based on this belief.

       62.     Had ACE adequately revealed during the Renewal Policy negotiations that it had

no intention of counting the Pre-Notice Defense Costs toward the Retention, and no intention of

fully reimbursing Putnam for those Defense Costs above the Retention, Putnam would not have

renewed the Policy or would have done so on different terms.

       63.     ACE’s inducement of Putnam to purchase the Renewal Policy under false

pretenses is a violation of M.G.L. c. 176D and M.G.L. c. 93A.
                                                 13
          Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 14 of 24



                               FIRST CLAIM FOR RELIEF
                 Declaratory Relief as to ACE’s Obligations Under the Policy

        64.     Putnam repeats and realleges the allegations set forth in paragraphs 1 through 63 of

this Complaint as if fully set forth herein.

        65.     Pursuant to the terms of the Policies, ACE is obligated to pay, up to the limits of

liability, for a Claim that satisfies the insuring agreements of the Policies and is not otherwise

excluded from coverage.

        66.     As detailed above, the facts of the SEC Action come within the insuring

agreements of the Policy. The allegations in the SEC Order involve Putnam’s Professional

Services as defined in the Policy, and the SEC Order was served on Putnam during the Policy

Period. The SEC Order and subsequent SEC Action constitute a covered Claim and this Claim is

not otherwise excluded by the Policy. ACE conceded as much in its Coverage Letter.

        67.     The Policy obligates ACE to pay, as part of its indemnity obligation, all Defense

Costs, including all “reasonable and necessary costs, charges, fees and expenses incurred by

[Putnam] in investigating, adjusting, defending or appealing Claims.” This obligation pre-dates

first notice, unless ACE can demonstrate actual and material prejudice – a standard that ACE has

not, and cannot, satisfy.

        68.     ACE’s consent was not required for Putnam to incur the Pre-Notice Defense Costs.

All of the Pre-Notice Defense Costs fell within the Retention, and the Policy does not require

ACE’s consent for Defense Costs until the Retention is satisfied.

        69.     ACE disputes its legal obligation to pay the Defenses Costs arising out of the

covered SEC Action.

        70.     Pursuant to 28 U.S.C. § 2201, Putnam is entitled to a declaration by this Court of

ACE’s obligations under the Policy.


                                                   14
          Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 15 of 24



       71.     An actionable and justiciable controversy exists between Putnam and ACE

concerning the proper construction of the Policies, and the rights and obligations of the parties

thereto, with respect to the Claim for coverage for Defense Costs arising out of the SEC Action.

       72.     Pursuant to 28 U.S.C. § 2201, this Court should enter a declaratory judgment in

favor of Putnam and against ACE, declaring that there is coverage available for Putnam’s Claim

under the Policies, and, pursuant to 28 U.S.C. § 2202, any other relief this Court deems proper.

Such a declaration would substantially resolve the current controversy between Putnam and ACE.

                              SECOND CLAIM FOR RELIEF
 Declaratory Relief as to the Inapplicability of ACE’s Litigation Management Guidelines

       73.     Putnam repeats and realleges the allegations set forth in paragraphs 1 through 72 of

this Complaint as if fully set forth herein.

       74.     Pursuant to the terms of the Policy, ACE is obligated to pay, up to the limits of

liability, for a Claim that satisfies the insuring agreements of the Policy and is not otherwise

excluded from coverage.

       75.     As detailed above, the facts of the SEC Action come within the insuring

agreements of the Policy. The allegations in the SEC Order involve Putnam’s Professional

Services as defined in the Policy, and the SEC Order was served on Putnam during the Policy

Period. The SEC Order and the subsequent SEC Action, constitute a covered Claim and this

Claim is not otherwise excluded by the Policy.

       76.     The Policy obligates ACE to pay all Defense Costs, including all “reasonable and

necessary costs, charges, fees and expenses incurred by [Putnam] in investigating, adjusting,

defending or appealing Claims.”

       77.     ACE disputes its legal obligation to pay any of Putnam’s Defense Costs arising out

of the covered SEC Action that ACE believes are inconsistent with its Guidelines.


                                                   15
            Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 16 of 24



          78.      ACE relies solely on its unilaterally imposed Litigation Management Guidelines as

a basis for denying coverage for certain Defense Costs, though these Guidelines are not part of the

Policy, and were not provided to Putnam at the time of contracting.

          79.      Putnam never agreed to abide by the terms of the Litigation Management

Guidelines.

          80.      Pursuant to 28 U.S.C. § 2201, Putnam is entitled to a declaration by this Court of

the validity of the Litigation Management Guidelines.

          81.      An actionable and justiciable controversy exists between Putnam and ACE

concerning the applicability of the Litigation Management Guidelines, and whether ACE may

rely on the Guidelines to limit its indemnity obligation to Putnam with respect to the Claim for

coverage for Defense Costs arising out of the SEC Action.

          82.      Pursuant to 28 U.S.C. § 2201, this Court should enter a declaratory judgment in

favor of Putnam and against ACE, declaring that the Litigation Management Guidelines are not

enforceable as to Putnam, that ACE may not rely on the Litigation Management Guidelines as a

basis for denying coverage, and, pursuant to 28 U.S.C. § 2202, any other relief this Court deems

proper.

                                   THIRD CLAIM FOR RELIEF
                     Breach of Contract for Failure to Fully Reimburse Putnam for
                All Reasonable Defense Costs Incurred with Respect to a Covered Claim

          83.      Putnam repeats and realleges the allegations set forth in paragraphs 1 through 82 of

this Complaint as if fully set forth herein.

          84.      The Policy constitutes a valid and enforceable contract between Putnam and ACE,

and Putnam is an insured under the Policy.




                                                     16
            Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 17 of 24



        85.     Putnam paid all premiums, provided notice of its Claim during the Policy Period,

has cooperated with ACE, and otherwise performed all obligations required of it under the

Policies.

        86.     As detailed above, the facts of the SEC Action come within the insuring

agreements of the Policy. The allegations in the SEC Order involve Putnam’s Professional

Services as defined in the Policy, and the SEC Order was served on Putnam during the Policy

Period. The SEC Order and the subsequent SEC Action constitute a covered Claim and coverage

for this Claim is not otherwise excluded by the Policy.

        87.     Pursuant to the terms of the Policies, ACE is obligated to pay, up to the limits of

liability, for a Claim that satisfies the insuring agreements of the Policies and is not otherwise

excluded from coverage.

        88.     The Policy obligates ACE to pay all Defense Costs incurred in excess of the

Retention, including all “reasonable and necessary costs, charges, fees and expenses incurred by

[Putnam] in investigating, adjusting, defending or appealing Claims.”

        89.     In violation of its obligations under the terms of the Policy and despite Putnam’s

demand therefor, ACE has failed and refused, and continues to fail and refuse, to count the Pre-

Notice Defense Costs towards the Retention.

        90.     ACE has refused to properly calculate Putnam’s Retention, and to reimburse

Putnam for Defense Costs incurred with respect to the SEC Action, in accordance with its

obligations under the Policy.

        91.     As a direct and proximate result of ACE’s material breach of the Policy,

Putnam has suffered damages in an amount to be determined at trial, but no less than

$2,000,000.



                                                   17
          Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 18 of 24



                             FOURTH CLAIM FOR RELIEF
        Violation of Massachusetts General Laws Chapter 176D and Chapter 93A By
           Refusing to Count the Pre-Notice Defense Costs Towards the Retention

       92.     Putnam repeats and realleges the allegations set forth in paragraphs 1 through 91 of

this Complaint as if fully set forth herein.

       93.     At all times relevant hereto, Putnam and ACE were engaged in trade or commerce

within the meaning of Massachusetts General Laws Ch. 93A.

       94.     By applying the Notice Provision to Defense Costs within Putnam’s Retention and

relying on the Notice Provision absent any showing of actual or material prejudice in violation of

the clear language of the Policy, ACE engaged in “unfair claims settlement practices” and clear

violations of Massachusetts General Laws, Chapter 176D § 3(9), which thereby constitute

violations of Massachusetts General Laws, Chapter 93A § 11.

       95.     By refusing to consent to incurred Defense Costs, absent any attempt to determine

whether the withholding of consent would be unreasonable in violation of the clear language of

the Policy, ACE engaged in “unfair claims settlement practices” and clear violations of

Massachusetts General Laws, Chapter 176D § 3(9), which thereby constitute violations of

Massachusetts General Laws, Chapter 93A.

       96.     Further evidencing ACE’s unfair and deceptive trade practices, ACE’s conduct

constitutes willful and knowing violations of Section 3 of Massachusetts General Laws Ch. 176D,

including, but not limited to:

                (a)     Misrepresenting the benefits, advantages, conditions, or terms of the
                        Policy;

                (b)     Misrepresenting pertinent facts or insurance policy provisions relating to
                        coverages at issue;

                (c)     Refusing to pay claims without conducting a reasonable investigation
                        based upon all available information;


                                                 18
          Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 19 of 24



                (d)     Compelling insureds to institute litigation to recover amounts due under an
                        insurance policy by offering substantially less than the amounts ultimately
                        recovered in actions brought by such insureds;

                (e)     Attempting to settle a claim for less than the amount to which a reasonable
                        man would have believed he was entitled by reference to written or printed
                        advertising material accompanying or made part of an application;

                (f)     Failing to provide promptly a reasonable explanation of the basis in the
                        insurance policy in relation to the facts or applicable law for denial of a
                        claim or for the offer of a compromise settlement.

       97.     In addition to the foregoing specific breaches of statutory duties set forth in

M.G.L. c. 176D, ACE’s tortious conduct as alleged in this Complaint and which will be proven

through discovery and trial, constitutes unfair and deceptive acts and practices in the conduct of

trade or commerce in violation of M.G.L. c. 93A §2 and actionable under §11.

       98.     ACE’s unfair and deceptive acts and practices took place and continue to take

place primarily and substantially within the Commonwealth of Massachusetts, and have resulted

in harm, including a loss of money and property, to Putnam.

       99.     As a result of its willful, unfair and deceptive acts and practices in violation of

Massachusetts General Laws Ch. 93A, Section 11, ACE is liable to Putnam for double or treble

actual damages and Putnam’s attorneys' fees in bringing this action.

                                FIFTH CLAIM FOR RELIEF
          Violation the Massachusetts General Laws Chapter 176D and Chapter 93A
               by Unilaterally Imposing the Litigation Management Guidelines

       100.    Putnam repeats and realleges the allegations set forth in paragraphs 1 through 99 of

this Complaint as if fully set forth herein.

       101.    At all times relevant hereto, Putnam and ACE were engaged in trade or commerce

within the meaning of Massachusetts General Laws Ch. 93A.

       102.    The Litigation Management Guidelines conflict with the language of the Policy,

were not presented to Putnam at the time of contracting, and Putnam never agreed to be bound by

                                                  19
          Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 20 of 24



their contents. Imposing the Guidelines interfered with Putnam’s contractual right to control its

own defense.

       103.    By unilaterally imposing the Guidelines after Putnam purchased the Policy and by

denying coverage based on their contents, ACE engaged in “unfair claims settlement practices”

and clear violations of Massachusetts General Laws, Ch. 176D §3(9), which thereby constitute

violations of Massachusetts General Laws, Ch. 93A.

       104.    Further evidencing ACE’s unfair and deceptive trade practices, ACE’s conduct

with respect to the Guidelines constitutes willful and knowing violations of Section 3 of

Massachusetts General Laws Ch. 176D, including, but not limited to:

                (a)    Misrepresenting the benefits, advantages, conditions, or terms of the
                       Policy;

                (b)    Misrepresenting pertinent facts or insurance policy provisions relating to
                       coverages at issue;

                (c)    Failing to acknowledge and act reasonably promptly upon
                       communications with respect to claims arising under insurance policies;

                (d)    Failing to adopt and implement reasonable standards for the prompt
                       investigation of claims arising under insurance policies;

                (e)    Refusing to pay claims without conducting a reasonable investigation
                       based upon all available information;

                (f)    Failing to affirm or deny coverage of claims within a reasonable time after
                       proof of loss statements have been completed;

                (g)     Compelling insureds to institute litigation to recover amounts due under
                       an insurance policy by offering substantially less than the amounts
                       ultimately recovered in actions brought by such insureds;

                (h)    Attempting to settle a claim for less than the amount to which a reasonable
                       man would have believed he was entitled by reference to written or printed
                       advertising material accompanying or made part of an application;

                (i)     Failing to provide promptly a reasonable explanation of the basis in the
                       insurance policy in relation to the facts or applicable law for denial of a
                       claim or for the offer of a compromise settlement.


                                                 20
          Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 21 of 24



       105.    In addition to the foregoing specific breaches of statutory duties set forth in

M.G.L. c. 176D, ACE’s tortious conduct as alleged in this Complaint and which will be proven

through discovery and trial, constitutes unfair and deceptive acts and practices in the conduct of

trade or commerce in violation of M.G.L. c. 93A §2 and actionable under §11.

       106.    ACE’s unfair and deceptive acts and practices took place and continue to take

place primarily and substantially within the Commonwealth of Massachusetts, and have resulted

in harm, including a loss of money and property, to Putnam.

       107.    As a result of its willful, unfair and deceptive acts and practices in violation of

Massachusetts General Laws Ch. 93A, Section 11, ACE is liable to Putnam for double or treble

actual damages and Putnam’s attorneys' fees in bringing this action.

                               SIXTH CLAIM FOR RELIEF
          Violation of Massachusetts General Laws Chapter 176D and Chapter 93A
              By Seeking to Leverage the Unpaid SEC Action Defense Costs to
                       Induce Putnam to Purchase the Renewal Policy

       108.    Putnam repeats and realleges the allegations set forth in paragraphs 1 through 107

of this Complaint as if fully set forth herein.

       109.    At all times relevant hereto, Putnam and ACE were engaged in trade or commerce

within the meaning of Massachusetts General Laws Ch. 93A.

       110.    By leveraging the unpaid SEC Action Defense Costs to induce Putnam to purchase

the Renewal Policy, ACE engaged in “unfair claims settlement practices” and clear violations of

Massachusetts General Laws, Chapter 176D § 3(9), which thereby constitute violations of

Massachusetts General Laws, Chapter 93A.

       111.    Further evidencing ACE’s unfair and deceptive trade practices, ACE’s conduct

with respect to the Renewal Policy constitutes willful and knowing violations of Section 3 of

Massachusetts General Laws Ch. 176D, including, but not limited to:


                                                  21
          Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 22 of 24



                (a)    Misrepresents the benefits, advantages, conditions, or terms of the Policy;

                (b)     Misrepresents for the purpose of inducing or tending to induce the lapse,
                       forfeiture, exchange, conversion, or surrender of any insurance policy;

                (c)    Misrepresenting pertinent facts or insurance policy provisions relating to
                       coverages at issue;

                (d)     Compelling insureds to institute litigation to recover amounts due under
                       an insurance policy by offering substantially less than the amounts
                       ultimately recovered in actions brought by such insureds;

                (e)    Attempting to settle a claim for less than the amount to which a reasonable
                       man would have believed he was entitled by reference to written or printed
                       advertising material accompanying or made part of an application;

                (f)    Engaging in misrepresentations with respect to insurance applications,
                       including making false or fraudulent statements or representations on or
                       relative to an application for an insurance policy, for the purpose of
                       obtaining a fee, commission, money, or other benefit from any insurers,
                       agent, broker, or individual.

       112.    In addition to the foregoing specific breaches of statutory duties set forth in

M.G.L. c. 176D, ACE’s tortious conduct as alleged in this Complaint and which will be proven

through discovery and trial, constitutes unfair and deceptive acts and practices in the conduct of

trade or commerce in violation of M.G.L. c. 93A §2 and actionable under §11.

       113.    ACE’s unfair and deceptive acts and practices took place and continue to take

place primarily and substantially within the Commonwealth of Massachusetts, and have resulted

in harm, including a loss of money and property, to Putnam.

       114.    As a result of its willful, unfair and deceptive acts and practices in violation of

Massachusetts General Laws Ch. 93A, Section 11, ACE is liable to Putnam for double or treble

actual damages and Putnam’s attorneys' fees in bringing this action.

                                     PRAYER FOR RELIEF

        WHEREFORE, Putnam prays for relief as follows:




                                                  22
         Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 23 of 24



                (a)     On the First Cause of Action, Putnam requests that the Court enter a

declaratory judgment in favor of Putnam against ACE, declaring that ACE is obligated count the

Pre-Notice Defense Costs towards the depletion of the Retention, and to pay Putnam, up to the

applicable limits of the Policies, for all Defense Costs in excess of the retention incurred by

Putnam during its defense of the SEC Action;

                (b)     On the Second Cause of Action, Putnam requests that the Court enter a

declaratory judgment in favor of Putnam against ACE, declaring that the Litigation Management

Guidelines are not enforceable as to Putnam, that ACE may not rely on the Litigation

Management Guidelines as a basis for denying coverage or otherwise refusing to pay any part of

the Defense Costs incurred by Putnam during its defense of the SEC Action;

                (c)     On the Third Cause of Action, Putnam requests that judgment be entered

against ACE, awarding Putnam damages in an amount to be determined at trial, but not less than

$2,000,000 plus consequential damages;

                (d)     On the Fourth, Fifth and Sixth Causes of Action, Putnam requests that

judgment be entered against ACE, awarding Putnam damages in an amount to be determined at

trial, but not less than $4,000,000 plus attorneys’ fees incurred in prosecuting this action;

                (e)     On all Causes of Action, Putnam requests attorneys’ fees, and pre- and

post-judgment interest to the extent permitted by law; and

                (f)     Such other and further relief as the Court deems just and proper.




                                                  23
        Case 1:19-cv-11798-FDS Document 1 Filed 08/22/19 Page 24 of 24



                                      JURY DEMAND

      Putnam hereby demands a trial by jury on all issues so triable.



Dated: August 22, 2019                           Respectfully submitted,

                                                 /s/ Michael John Miguel
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                                              24
